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U.S. Department of Justice PROCESS RECEIPT AND RETURN
United States Marshals Service See “Instructians for Service of Process by U.S. Marshal”
a
PLAINTIFF COURT CASE NUMBER
diana alebond 8:20-cv-00052
DEFENDANT TYPE OF PROCESS
usps summons
NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
SERVE usao
AT ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)
tampa
SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be

served with this Form 285 l

Number of parties to be 3
served in this case

 

Check for service
on U.S.A. y

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (fnclude Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

 

 

Signature of Attomey other Originator requesting service on behalf of: (1 PLAINTIFF TELEPHONE NUMBER DATE
((j) DEFENDANT

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE

 

 

 

 

 

 

 

 

 

 

 

1 acknowledge receipt for the total | Total Process | District of District to Signature af Authonzed USMS Deputy or Clerk Date

number of process indicated. Origin Serve L
(Sign onlv for USM 285 if more _ / Oo
than one USM 285 is submitted) 3/3 No. 18 No. mail ! 3

[ hereby certify and return that} [[] have personaly served , (] have legal evidence of service, have executed as shown in “Remarks”, the process described on the

individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

(CD I hereby centify and retum that { am unable to locate the individual, company, corporation, etc. named above (See remarks below)

 

 

 

 

 

 

 

 

 

 

 

 

Name and title of individual served (if'nor shown above) Date Time tam
J} 21 29 CO O pm
Address (complete only different than shown above) Signature of KS: Migrshai or Deputy
Service Fee Total Mileage Charges Forwarding Fee Total Charges Advance Deposits | Amount owed to U.S. Marshal* or
fineluding endeavors) (Amount of Refund")
REMARKS

Peo |

 

Form USM-285
PRIOR VERSIONS OF THIS FORM ARE OBSOLETE Rev, [W183
